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HARRIS COUNTY, TEXAS Civil District Courts &
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Sivle THOMAS INDUSTRIAL NETWORK INC VS. PEASE MEDIA LTD (DBA TOPSPOT INTERNET
) MARKETING SO
Case Number (200614603 |[Case Type [BREACH OF CONTRACT |
File Court 125 Case status |ACTIVE vary Fee Paid va File Date (03/03/2006
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Court 125 Next Setting 3/10/31/2006 File Location CENTRAL INTAKE IST
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AMENDED ORIGINAL PETITION
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PERSON SERVED: MONTGOMERY, JEFF SERVICE TYPE: CITATION
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PERSON SERVED: UNDERWOOD, DAVID SERVICE TYPE: CITATION
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PERSON SERVED: PEREZ, ANITA SERVICE TYPE: CITATION INSTRUMENT:
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